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 4
     Attorney for Defendant
 5   THOMAS KEYS
 6
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                    EASTERN DISTRICT OF CALIFORNIA
 8
 9
10 UNITED STATES OF AMERICA,
                                                          Case No. 09-CR-0422 WBS
11                   Plaintiff,

12 v.
                                                          MOTION FOR CONTINUANCE OF STATUS
13                                                        CONFERENCE; STIPULATION AND
     THOMAS KEYS, et al.                                  [PROPOSED] ORDER
14
                     Defendant.
15
16
17
                                                  STIPULATION
18
              Plaintiff, United States of America, by and through its counsel, Assistant United States
19
     Attorney Jean Hobler, defendant, Nakesha Sharrieff, by and through her counsel, Caro Marks,
20
     defendant Jarmal Duplessis, by and through his counsel, Michael E. Hansen, and defendant Thomas
21
     Keys, by and through his counsel, Erin J. Radekin, agree and stipulate to vacate the date set for
22
     status conference, May 3, 2010 at 8:30 a.m., in the above-captioned matter, and to continue the
23
     status conference to July 12, 2010 at 8:30 a.m., in the courtroom of the Honorable William B.
24
     Shubb.
25
              The reason for this request is that additional time is needed for defense preparation and plea
26
     negotiations. The Court is advised that the government, Mr. Hansen and Ms. Marks concur with this
27
     request, and that Ms. Hobler, Mr. Hansen, and Ms. Marks have authorized Ms. Radekin to sign this
28
     stipulation on their behalf.
              The parties further agree and stipulate that the time period from the filing of this stipulation
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 1   until July 12, 2010 should be excluded in computing time for commencement of trial under the
 2   Speedy Trial Act, based upon the interest of justice under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local
 3   Code T4, to allow continuity of counsel and to allow reasonable time necessary for effective defense
 4   preparation. It is further agreed and stipulated that the ends of justice served in granting the request
 5   outweigh the best interests of the public and the defendant in a speedy trial.
 6          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 7   IT IS SO STIPULATED
 8   Dated: April 30, 2010                                    BENJAMIN WAGNER
                                                              United States Attorney
 9
                                                       By:           /s/ Jean Hobler
10                                                            JEAN HOBLER
                                                              Assistant United States Attorney
11
12   Dated: April 30, 2010                                          /s/ Erin J. Radekin
                                                              ERIN J. RADEKIN
13                                                            Attorney for Defendant
                                                              THOMAS KEYS
14
     Dated: April 30, 2010                                        /s/ Caro Marks
15                                                            CARO MARKS
                                                              Attorney for Defendant
16                                                            NAKESHA SHARRIEFF
17
     Dated: April 30, 2010                                        /s/ Michael Hansen
18                                                            CARO MARKS
                                                              Attorney for Defendant
19                                                            JARMAL DUPLESSIS
20
21
22
23                                                  ORDER
24          For the reasons set forth in the accompanying stipulation and declaration of counsel, the
25   status conference date of May 3, 2010 at 8:30 a.m. is VACATED and the above-captioned matter is
26   set for status conference on July 12, 2010 at 8:30 a.m. The court finds excludable time in this
27   matter through July 12, 2010 under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4, to allow
28   continuity of counsel and to allow reasonable time necessary for effective defense preparation. For


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 1   the reasons stipulated by the parties, the Court finds that the interest of justice served by granting the
 2   request outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C.
 3   3161(h)(7)(A), (h)(7)(B)(iv).
 4   IT IS SO ORDERED.
 5   Dated: April 30, 2010
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